937 F.2d 622
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Leslie RUTHERFORD, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 91-3260.
    United States Court of Appeals, Federal Circuit.
    May 16, 1991.
    ORDER
    
      1
      Upon consideration of the motion of Leslie Rutherford to voluntarily dismiss her petition for review,
    
    IT IS ORDERED THAT:
    
      2
      (1) The motion is granted and the petition for review is dismissed.
    
    
      3
      (2) Each side is to bear its own costs.
    
    